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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


CITIZENS BANKING CORP.,                            Case No. 07-11514

              Plaintiffs,                          DISTRICT JUDGE
                                                   ARTHUR J. TARNOW
v.
                                                   MAGISTRATE JUDGE
CITIZENS FINANCIAL GROUP, INC., et                 DONALD A. SCHEER
al,

              Defendants.

                                      /

ORDER DENYING DEFENDANTS’ MOTION FOR PRELIMINARY INJUNCTION [DE
 13], DENYING PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION [DE 15],
  GRANTING PLAINTIFF’S MOTION TO SET ASIDE TRO [DE 20], AND DENYING
PLAINTIFF’S MOTION TO STAY PROCEEDINGS, BUT GRANTING ALTERNATIVE
                            RELIEF [DE 21].

       Before the Court are Defendants’ Motion for Preliminary Injunction [DE 13], Plaintiff’s
Motion for Preliminary Injunction [DE 15], Plaintiff’s Motion to Set Aside TRO of April 26, 2007
[DE 20], and Plaintiff’s Motion to Stay Proceedings [DE 21], on which the Court heard oral
arguments May 4, 2007, in Lansing, Michigan. For the reasons stated on the record at the motion
hearing,
       IT IS HEREBY ORDERED that
              •       Defendant’s motion for preliminary injunction [DE 13] is DENIED,
              •       Plaintiff’s motion for preliminary injunction [DE 15] is DENIED,
              •       Plaintiff’s motion to set aside the TRO [DE 20] is GRANTED, and
              •       Plaintiff’s motion to stay proceedings [DE 21] is DENIED, but the requested
                      alternative relief of a 21-day extension to answer Defendants’ counterclaim
                      is GRANTED.
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       SO ORDERED.



                             S/ARTHUR J. TARNOW
                             Arthur J. Tarnow
                             United States District Judge

Dated: May 8, 2007

I hereby certify that a copy of the foregoing document was served upon counsel of record on May
8, 2007, by electronic and/or ordinary mail.

                             S/THERESA E. TAYLOR
                             Case Manager
